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                                                         Exhibit A to the Complaint
Location: Plano, TX                                                                                     IP Address: 70.119.72.255
Total Works Infringed: 81                                                                               ISP: Spectrum
 Work      Hashes                                                                UTC             Site          Published     Registered   Registration
 1         Info Hash: 7277A59EE15D6BCBDE93A948B151E12CD1E6DE32                          12-11-   Blacked       12-05-2020    01-04-2021   PA0002277031
           File Hash:                                                                     2020
           BEBFB9DC67D4A982AAD15C7CF1299B4F25FC867AC361CB0D1CF1BD5AE35C17DF           09:22:37
 2         Info Hash: A5FC96E88D78817E097A7638BFF4C79028FA6961                          02-15-   Blacked       01-16-2021    02-09-2021   PA0002276150
           File Hash:                                                                     2021
           55201047A6F1DBCFB62B55B037645B94BB99CB98355AB7757178E4CB9279F561           05:17:29
 3         Info Hash: 74B6C4B2142320EF173D23A437202D324DB588BF                          02-15-   Blacked       01-23-2021    02-09-2021   PA0002276146
           File Hash:                                                                     2021
           A3DF8C921FB6A10C3FB6324B17383D1C711F4D7A024F3A50CAE1367F126CDAE0           03:17:12
 4         Info Hash: 12E9D5A5076916A0D0E2D2E6C76ECEC6C71B477F                          02-13-   Blacked       01-09-2021    02-09-2021   PA0002276152
           File Hash:                                                                     2021
           A2129D366B86687DFB8D81B3F6519F5DEDC39BC5C1CEBD842AA4DD68FBD40E31           07:18:34
 5         Info Hash: 72CF32D82CDC03B4A628E99BA4E2B0327193029A                          01-31-   Blacked       12-19-2020    01-05-2021   PA0002269959
           File Hash:                                                                     2021
           3E733D8E3B150936DFE95A933E771E80401250372AB7D813147805E218331583           18:42:18
 6         Info Hash: 22EDE2B49D3E2F84DD3EF8868F5DF57C6A8D9DCA                          01-31-   Blacked       12-21-2020    01-05-2021   PA0002269958
           File Hash:                                                                     2021   Raw
           29BC07BC93FCA771CE7EF9DB770633C5EC1DCDA6823A8F3B0660AA6F4DEAC79D           16:09:16
 7         Info Hash: C65B0718B2856D5898D2BCFAD5347E2943CB6E60                          01-29-   Tushy         12-13-2020    12-28-2020   PA0002269085
           File Hash:                                                                     2021
           6BF8FFC9C9CACF56E9504FFAAF703C296EC20939E9360D51F564352CAD6E96EF           03:00:28
 8         Info Hash: F083494A7EF6DCB0F1C1CCB2E3B439D46B8E121D                          01-23-   Blacked       12-07-2020    12-28-2020   PA0002269082
           File Hash:                                                                     2021   Raw
           6D8F28B6897356FB8F127C57432BCB0094117CA11BB5EABDA1879D9FEDDCA303           11:14:57
 9         Info Hash: 988F927F90E134982B8CD3978EF27BA55E205C53                          12-27-   Tushy         12-20-2020    01-05-2021   PA0002269960
           File Hash:                                                                     2020
           C607FD8C292C7B36EDD3B9909EA0E140BD496CC2BB18EF39A85D525A249E99D5           11:00:57
 10        Info Hash: 34E4DA6E5D1F0861B3294B6E641601FCDB2271B9                          12-27-   Blacked       12-12-2020    01-04-2021   PA0002277035
           File Hash:                                                                     2020
           C4F26B7087B8C215108FF4593137C894F403D2940B13FE7A97453FAB61C34E23           10:51:13
 11        Info Hash: 9C1CE6FCB8D6698AEC45344B2242F96968711B89                          12-20-   Blacked       10-10-2020    10-22-2020   PA0002261812
           File Hash:                                                                     2020
           8196532497D1741E36686422F1AE49C5AEFDEAAC49A1D08F03F6154E8CAE013D           09:44:05
                         Case 4:22-cv-00643-SDJ Document 1-1 Filed 07/26/22 Page 2 of 7 PageID #: 11

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: DC51BC65295AEE5DC56843D1E2A3CE91668DE8FE                   12-05-   Blacked   08-29-2020   09-05-2020   PA0002255478
       File Hash:                                                              2020
       9419A554483D17AA047E538B745DAF56BF15D37674E85F9832D3F60F94F81D6B    12:22:34
13     Info Hash: 7E32EEA259FEC7C467285172D773CBB48BC43C6B                   12-05-   Blacked   09-19-2020   09-29-2020   PA0002258681
       File Hash:                                                              2020
       289F90643B74406805984899428626966679EC0E9FE7FCDA6FE8EA60096F41A9    11:38:51
14     Info Hash: E286F7AA73F577065776C5D29062592717619591                   12-03-   Blacked   11-28-2020   12-28-2020   PA0002269083
       File Hash:                                                              2020
       BB8C31BE21E18A2CC4F9AF12F04E4BFE930E2FE2C010CE7780EB79F2B57AB516    15:16:13
15     Info Hash: 8245C5788FC65E9D62956E93E248CD39C1D9C4BB                   11-26-   Blacked   11-21-2020   11-30-2020   PA0002266354
       File Hash:                                                              2020
       975E94CE108E87746A1BCDB1B386358D187DFD235A37B2073EEEB230677272F8    08:04:45
16     Info Hash: 3AB4379E04C0DE3E0E2DEC5D57D1E2734620A57F                   11-20-   Blacked   11-07-2020   11-24-2020   PA0002265966
       File Hash:                                                              2020
       BE3492729C0629A0CA3B64EA8DDC9C3921289208476737232A7644831F847EE7    12:39:59
17     Info Hash: ABC0C195E2BBF84F587F37AF7EB8F746860EE8AB                   11-20-   Blacked   11-14-2020   11-30-2020   PA0002266362
       File Hash:                                                              2020
       D9789C10F5472D6DB4B2A8D9F8CD8E0A7C7087FA1FF2A83B2F39ADC6D3A0B691    12:25:36
18     Info Hash: 7305155D3B1796DF506B513F8A9E58AA7AAC6C39                   11-20-   Blacked   11-09-2020   12-09-2020   PA0002274940
       File Hash:                                                              2020   Raw
       F5C15FFC929D749BB71F63C84A287BC94E20C3325091EBE2349C35BC588A6100    11:08:39
19     Info Hash: 0A9EF185B223767F424C05305222E7F14C10C734                   11-20-   Blacked   11-16-2020   11-30-2020   PA0002266360
       File Hash:                                                              2020   Raw
       F949F9F17DF3AA3250701D1C97A6109FC5A82305A137E17785F82FD1E2C0F588    10:43:20
20     Info Hash: F02038ED79DADCF1634BEFA492E284250F51B663                   11-15-   Blacked   10-31-2020   11-24-2020   PA0002265967
       File Hash:                                                              2020
       B235D62382C31D4D7381203DDF90467BFFB5FC1B05C7A43D4F2F01AA32FA95D1    11:43:43
21     Info Hash: 46E9F480C2164858AD15AF7B300D187C4AB4BB9E                   10-25-   Blacked   10-24-2020   11-05-2020   PA0002263386
       File Hash:                                                              2020
       BD2B0360689C43E61899A19E18BD4609EA21D8DC3A51D71EE12394E88ABBB640    05:47:32
22     Info Hash: C133D6E28E71854F7C9E476BE465CD63BE1C8C2B                   10-08-   Blacked   08-31-2020   09-05-2020   PA0002255473
       File Hash:                                                              2020   Raw
       C3066DC940D2CE6351DAEA891B40F962251B482354FCA3A5F20AE3F5B9F94773    06:24:07
23     Info Hash: 09D65CC86F342595894E6E1AAC1BE37224B9F637                   10-08-   Blacked   09-26-2020   10-22-2020   PA0002261801
       File Hash:                                                              2020
       2A8F20D68655A1CAE08353247050546D2AB13AADF18DFAE66DE218D7F169C6DB    06:15:54
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: 31A8F8D6F5F44439A0746AC2A1FEECBC46A39FEB                   10-08-   Blacked   09-28-2020   10-22-2020   PA0002261800
       File Hash:                                                              2020   Raw
       722D74E39C11DDEF29652D55415EA1762EF6EC36A73642EC20CDEFBAB5FE5906    06:14:05
25     Info Hash: 70E290BA761A02F954B46C202A914AF2EBA424A0                   10-04-   Blacked   10-03-2020   10-22-2020   PA0002261803
       File Hash:                                                              2020
       4DE4E1DE98D652627ADEEA7C33F67F8B4602B868ED5754F0AA823CA7FE03BB96    17:48:55
26     Info Hash: 71B5BACD1E0CA9422B3C4F5C91B943629E119DA6                   09-18-   Blacked   09-12-2020   09-29-2020   PA0002258684
       File Hash:                                                              2020
       E3A468DAFD516F59D05D6DEDE8F8ADFF486BE34B24A78B177152957480D368D5    23:08:36
27     Info Hash: CF68460DE9D9906097987EC8282AFEB65C3285B7                   09-06-   Blacked   09-05-2020   09-29-2020   PA0002258686
       File Hash:                                                              2020
       89D2A8B1E0C33574D55170A12C1AC1BEAAA8DAD27057E862E44E6FD7099822CB    08:59:06
28     Info Hash: 623664DB91C56CCBDD3B77BADAE7AF7D76D9A817                   09-05-   Tushy     08-30-2020   09-05-2020   PA0002255477
       File Hash:                                                              2020
       AC6A01BCA8A5640B192D798D3755118DDB5674092C473B0C6B240BC911A87336    11:26:01
29     Info Hash: 1130C4C8190EEBD3CC2E36DED9339AB5C89F7ED2                   08-23-   Blacked   08-22-2020   09-05-2020   PA0002255479
       File Hash:                                                              2020
       9B3A0EEC0CE104D60F96BF615547DECADA181F5AEB188FA1CC22B96BD45F01B0    08:24:45
30     Info Hash: 19816DD7F8D6650A9DF46433A617858034440FC8                   08-22-   Blacked   08-08-2020   08-31-2020   PA0002265640
       File Hash:                                                              2020
       E1AAAC64CF57691DC520C1191297E95EF1C1A8CB1F21C0C1C938013F2272C71A    06:27:33
31     Info Hash: F2E2D4E046CCDC0E6FB0A0BE24D07653F3A912F8                   08-22-   Tushy     07-26-2020   08-31-2020   PA0002265634
       File Hash:                                                              2020
       6106DF256B24DD6C920A937F36BDC9F76CE6C6CA22C29C661D65493E9FC055B0    06:10:46
32     Info Hash: D6E0A40D7E916C17226EFE6BB7290F89845DA1AD                   08-16-   Blacked   08-15-2020   09-05-2020   PA0002255476
       File Hash:                                                              2020
       2D65FAB3ECF540837E4442CCF67DBD19262CBC25898523B6ABC46F2B681AA87F    10:40:15
33     Info Hash: 1902DE7B974CAE62FB7A5DE639C19031FC126C4B                   08-07-   Blacked   07-25-2020   08-11-2020   PA0002252256
       File Hash:                                                              2020
       781B373FEF7FD1DB9FFCC80BE5795BB9A4321D3C081FC38E6B983D49B1551E4A    23:46:37
34     Info Hash: FCB549F603421D845CA6D561B936B458E6EB795A                   07-19-   Blacked   07-18-2020   08-11-2020   PA0002252258
       File Hash:                                                              2020
       62ACD10B7CEEF974448C07E4E552484EDC7229EBBFB82B3DABFFB38BD045AC69    11:54:45
35     Info Hash: C695EDFA34BDA5089F0EC37C361E56A8C5CF5878                   07-05-   Blacked   07-04-2020   07-20-2020   PA0002248966
       File Hash:                                                              2020
       DFB96246FAF43B88B6AA8D9ECE6BD4CF7DB5EFB3E416CA5A9C08219EDCA0C24B    13:21:05
                         Case 4:22-cv-00643-SDJ Document 1-1 Filed 07/26/22 Page 4 of 7 PageID #: 13

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
36     Info Hash: A9B652891F923FA4B1F6090BABF9E9299A23C6A4                   06-28-   Blacked   06-27-2020   07-17-2020   PA0002248593
       File Hash:                                                              2020
       948398B9693BBBF102BD10D0BCEA42798BB70A3DDCAC20A0A1F9F8252076F9B2    12:06:08
37     Info Hash: 9E7AC67ED84D7D04BF3CC582B9C85202AE696326                   06-15-   Blacked   04-05-2017   06-05-2017   PA0002052859
       File Hash:                                                              2020
       F2A48655FBEF5FF6669D03A8713DF2668EB11CC499D2C41070BF7E2378288216    15:17:04
38     Info Hash: 1E75D55B9CB9C6FA302F8713E147F1746FF6DD49                   06-15-   Blacked   04-20-2017   06-15-2017   PA0002037578
       File Hash:                                                              2020
       9F8D85F8891AEF72D27F0506C73DC451F1F040691A4BF7996BF82D318BEBF632    15:05:51
39     Info Hash: 590A9000C3DC58732156A82C92538A10258C408F                   06-15-   Blacked   06-19-2018   07-14-2018   PA0002130450
       File Hash:                                                              2020
       1E93EB810B90846A612A322BE3392620001AC3B044BDE91C811FB345866007DC    15:00:19
40     Info Hash: E9407F58E7AC3E4D0F002D6C7DB295374399E029                   06-14-   Blacked   06-13-2020   06-22-2020   PA0002245632
       File Hash:                                                              2020
       93E94D485908E0CE0D824D747E4F76C52D9AFCB79CAD56362CC477EC64C83E01    09:58:51
41     Info Hash: E414F51C9CAEDAE13DFDFCD4D7B6E2BF537CCA2D                   06-07-   Blacked   06-06-2020   06-22-2020   PA0002245636
       File Hash:                                                              2020
       B62557344D13584F864FA15DDC51FB2E8E9968E886A66700C9838788D145111D    09:05:14
42     Info Hash: 4B6F7F45A8692DF06FACA9BAC618F623F6C21E68                   05-28-   Tushy     03-16-2020   04-15-2020   PA0002244959
       File Hash:                                                              2020
       00682071DAEB5CE10C349DA50EEECEFFD395A3FED25E4FAB50E9A15851828228    08:07:58
43     Info Hash: DE94C77C37E9AA061AA4FF6A6876F81DCA80A3B8                   05-28-   Vixen     02-03-2020   03-15-2020   PA0002240554
       File Hash:                                                              2020
       7638CE78E44C3E6F7E270A9F9AD88AA2D85839B6C2ED790A70FBD773E941C05A    08:03:20
44     Info Hash: 1B85877B1F9634D575BC7A9A581403999E54D1AB                   05-25-   Blacked   05-23-2020   06-22-2020   PA0002245638
       File Hash:                                                              2020
       B3FC20EEB6FE8C380715BB7802806165AB3E8B84564A236D8C6FC1F1E195AE1A    16:41:30
45     Info Hash: 6B4F18C876C0B9CE2F235EF293F8EC05E5CB2697                   05-21-   Blacked   05-16-2020   06-22-2020   PA0002245639
       File Hash:                                                              2020
       E9BA67983FBF8527DAC0F0DDF6EB391EC76F4436A41F171F04951B5CF36AB324    14:36:25
46     Info Hash: 7B59B7D3F2021F4D4E93C84314121CE2A2E5F596                   05-16-   Vixen     02-13-2020   03-15-2020   PA0002240552
       File Hash:                                                              2020
       08E0D570CF10000543FAF3034134F9F70572F85A6F20AF4714C49133A2D2C977    07:05:56
47     Info Hash: 24A64BE5C3820F898A670007F7B072A805BD9DDF                   05-14-   Blacked   05-09-2020   06-08-2020   PA0002243649
       File Hash:                                                              2020
       2660E35C524E89782B4DF17995C883976A29E7EA796614E16437CBF8AEFB02B0    10:52:12
                        Case 4:22-cv-00643-SDJ Document 1-1 Filed 07/26/22 Page 5 of 7 PageID #: 14

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
48     Info Hash: 92F100D13ABA3A409D4CB6ABC2B24723AF8C693D                   05-14-   Blacked   05-02-2020   05-19-2020   PA0002241471
       File Hash:                                                              2020
       1B0B838BB4988A0F4005BC95DFCAE8DE658E6F0ED2004E0348F00F3E5F22B2B8    09:53:06
49     Info Hash: FED9CBC943CC50537BBD8267BD4FA4C4848363B1                   04-26-   Blacked   04-25-2020   05-05-2020   PA0002249013
       File Hash:                                                              2020
       ED1BA66718984D5855EF40B4782EFA7B40EB613381E9A271500EABD09DE1E77E    20:15:23
50     Info Hash: 8B3B424903BAA63F146C6587BBAEBD3103EBF169                   04-19-   Vixen     04-17-2020   04-22-2020   PA0002237694
       File Hash:                                                              2020
       B8D4A521EF2779064D9E14FA353690E5381774D290E7483CECB8AE4A9C25647A    15:40:35
51     Info Hash: 1EB9F1FD518011DA81313D9C95C13D2DAF986DEA                   04-19-   Blacked   04-18-2020   05-19-2020   PA0002241472
       File Hash:                                                              2020
       BE0714950BAE66935380D8A295E3561971B9A96907AC462560C210D5E728F711    14:43:19
52     Info Hash: D87F96E2DE48F924F8E375EE26C21F6ECABC68A1                   04-13-   Blacked   04-11-2020   04-22-2020   PA0002237696
       File Hash:                                                              2020
       BAFDCF065640195A34352C75C9069D68D4BDB897336C2EA90EA7870F373D04C8    19:44:36
53     Info Hash: 0375A9CC6F696CF14E34696CAE9EF334733741E8                   04-04-   Blacked   03-21-2020   04-15-2020   PA0002246170
       File Hash:                                                              2020
       1C99FE6D021C575065CC1B5D4E76375B08A2CA860933F776EC1CBDB22FBC1D2D    00:38:30
54     Info Hash: 4D681AA2C0E7C46C0814F3BBA7DF71007C31C7E8                   04-03-   Blacked   03-28-2020   04-15-2020   PA0002246108
       File Hash:                                                              2020
       0408F6FA4B819558C266E53122B05254F0924FB41DBB21F395B269437C030F3F    23:30:19
55     Info Hash: 447FD904E4A457202570D50D97F671C748E95C2F                   03-27-   Blacked   03-15-2020   04-15-2020   PA0002246109
       File Hash:                                                              2020
       1239AE0D70709F9E0A8F51636316E6A7700342BF175E3B349BBF9567960B0692    03:31:08
56     Info Hash: A26A6EB5ABB7F0C8AC2332FA285888FD3CC8B957                   03-14-   Blacked   03-10-2020   04-15-2020   PA0002246103
       File Hash:                                                              2020
       3F55C01EC49B2EBFACC7CE0DD0E9476E17B670CE855BA82E1C7851DA83EEC0F0    07:00:55
57     Info Hash: 47DD381C88E056FF42624B981E39EF41F9D0D1FC                   03-08-   Blacked   03-05-2020   04-15-2020   PA0002246102
       File Hash:                                                              2020
       6D42056DCAD5B1C0C6C6E369DAF45DD568C56B522B9D19E07A59EC677C3A0884    17:10:36
58     Info Hash: A799878765832A277C65FB1F9AD5AE8D594F1ED4                   02-29-   Blacked   02-24-2020   03-18-2020   PA0002241627
       File Hash:                                                              2020
       644AB34A0CDB356C03C6891C409E39387C6798A62E8CC2B4F90837CCD272F86B    13:50:56
59     Info Hash: DB62E40C2955C3F1CA423B86FC0488F726C2335F                   02-21-   Blacked   02-19-2020   03-18-2020   PA0002241617
       File Hash:                                                              2020
       5E77791CA69E8D411E98B26FAB96CF8505CC66AE74C42FD899695FD22BDB5A12    22:50:38
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
60     Info Hash: 12A608036EFA7F6279C0F86E26431F883D18F344                   02-18-   Blacked   02-04-2020   02-20-2020   PA0002229052
       File Hash:                                                              2020
       80B53A940C5080A4CCD3AC751E51450CF770E1AC3640B9E4B26292153BE3D5A9    15:50:54
61     Info Hash: A06A9A15C1E92017AF8A986640C85CAD25CE9DC1                   02-01-   Blacked   01-30-2020   02-20-2020   PA0002237624
       File Hash:                                                              2020
       46FEC717655D2B9464FF3F06AB9236D57F9CE5B0718AE8F9DC657EC1C2817D12    03:13:17
62     Info Hash: A8F89195C84549E7FB39FBDB8720C479AD022662                   01-28-   Blacked   01-25-2020   02-20-2020   PA0002229054
       File Hash:                                                              2020
       F8CE8E0DB0EAB65F9B5BC1D3EEAF22F89AE169435419C66E28A8E19AED15A875    06:46:43
63     Info Hash: 256BAF077E8BB6890FCFBFD0AAEC1F8FC1015E96                   01-18-   Blacked   01-15-2020   02-04-2020   PA0002225584
       File Hash:                                                              2020
       F7CBC964E129F43C96493AABC0E37138F5FFD14C5E6B35DC506E39224493481A    09:52:05
64     Info Hash: A96E15624A7DC7EBC246B11E0E6C448D785EB836                   01-11-   Blacked   01-10-2020   02-04-2020   PA0002225582
       File Hash:                                                              2020
       5A0ADBA8C9A43A01DEC1C9FE51D16254C2448235709D089A01B227A6AF297A1E    01:40:21
65     Info Hash: C8BF43D1C97CFA2F83ADB8A32F39ACAABFCDAE24                   12-14-   Blacked   12-11-2019   01-03-2020   PA0002219628
       File Hash:                                                              2019
       59A88FC83130B7571A183F1538701825CED832184729F4FC7C643C6CD5B2664D    11:11:15
66     Info Hash: 8BB2F75802F49EFD75678A239850423D72452F3F                   12-08-   Blacked   12-06-2019   12-17-2019   PA0002217665
       File Hash:                                                              2019
       1688FFDC65F24CFFA8F839CF55DEA19B5162AF79B2B182D1EA31F39F3C208CDE    13:00:45
67     Info Hash: D702D009EB68CCFCCED118FF97BC6DFFFC22A38E                   12-08-   Blacked   12-01-2019   12-17-2019   PA0002217663
       File Hash:                                                              2019
       EEB5F417612E98224C56B6D41EBFFE1E1E502D06E897E6B9C94C4B48BAC263DD    12:59:08
68     Info Hash: 3C6AB1B3521208CFB51C024E2A203C0C7CF81944                   12-01-   Blacked   11-25-2019   12-09-2019   PA0002216262
       File Hash:                                                              2019
       DE54F58E5818C41CB82827CC9288D56D371B10A336AAD9D2CEAF51A5BC03677A    11:45:19
69     Info Hash: 0C3DE4F2C051D172C64E1806FF1443E927D83769                   11-20-   Blacked   11-16-2019   12-03-2019   PA0002232049
       File Hash:                                                              2019
       E2C7F4AA2C72DC7A352817F7CE175170EF8AB2A69D96A7CA1F3F3F8768E8A3B4    22:20:39
70     Info Hash: 394C61DBB1F7AE37235312328E8EA8D997C00B8D                   11-08-   Blacked   11-06-2019   11-15-2019   PA0002211857
       File Hash:                                                              2019
       353FEF6A78480786CB531A4AFC7F59D196EC18C5E430A53E37FAE917F3E9EE3C    17:44:35
71     Info Hash: B64795AC58268CD9C422E07C69CFE21BF5817B3A                   10-23-   Blacked   10-22-2019   11-05-2019   PA0002210294
       File Hash:                                                              2019
       D635910093E18115308F865230E69E3C9BD78A158FE7F327A8E07D39DC5D7AED    23:25:34
                         Case 4:22-cv-00643-SDJ Document 1-1 Filed 07/26/22 Page 7 of 7 PageID #: 16

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
72     Info Hash: 8EC5F4F333FB048EA392494A3F62F24848A59551                   10-18-   Blacked   10-17-2019   11-05-2019   PA0002210291
       File Hash:                                                              2019
       8E2986D242CCBEB171C559F71359EE7AE7E3012A516BD3457E68D90529851E03    08:08:54
73     Info Hash: C7EFF333A469DA5233B6600891C3DE5D2D567A6B                   10-12-   Blacked   10-12-2019   11-05-2019   PA0002227087
       File Hash:                                                              2019
       0D91C08743085C2957F0C3B154B188EC1B91644CA0A214B5433626C30B8725F2    18:55:53
74     Info Hash: 4C3B0F9B5F2EA7CDE8E3FB6708E6F18FEE8FCD78                   10-12-   Blacked   10-07-2019   10-21-2019   PA0002207742
       File Hash:                                                              2019
       87334121CFE7FF54DBBEDE1CD5174BABE2A323BE1D22D51A3241CF88C2A542C2    18:52:57
75     Info Hash: 38C22CEAD87561E0EAC71E4F2A59E1EEF94F12BE                   10-03-   Blacked   10-02-2019   10-21-2019   PA0002207747
       File Hash:                                                              2019
       03076FA268AD56E7EC71728F47098AAB5AE90D9439F3107FDCF8BC14F3EDB66A    21:46:44
76     Info Hash: 3917E23A20D11C20256683DBD92B8601ECAA8554                   09-28-   Blacked   09-27-2019   10-07-2019   PA0002205468
       File Hash:                                                              2019
       4CDAB90C13E349B2B90D24F9411BE3734327D69571C7FE68C32E272BD72C3AFC    08:39:44
77     Info Hash: AE71CD71FE301E6D4F98424CD05705EA6C3AA4E6                   09-20-   Blacked   09-17-2019   09-25-2019   PA0002203161
       File Hash:                                                              2019
       2761D8C5A9D5E89342C135DA45A9465C54877C4CA6FB1E0174400417AB8397D0    15:29:33
78     Info Hash: 2FC3F09B947E9E86BB127C09DAE7DB9FAE18FD4A                   09-14-   Blacked   09-12-2019   09-25-2019   PA0002203159
       File Hash:                                                              2019
       671B982103377F6C3E28954833E87D419208E318DC2F390CDB2A101A47F67ADB    02:24:21
79     Info Hash: E3A8C18869DAC69874DC78556D8EE2B1BA4AC5EA                   09-08-   Blacked   09-07-2019   09-25-2019   PA0002203158
       File Hash:                                                              2019
       80FD8819A29C3FD8D153E45E10848D0C7A481FF71B7CB02776C1154E17D5BEAE    09:18:26
80     Info Hash: 20EEC6FEA5F9C7D469DA65D3F0A0E01D64F17155                   09-05-   Blacked   08-28-2019   09-13-2019   PA0002200704
       File Hash:                                                              2019
       6C572A6A6F1217AAB32C6E96E50909C85B40CEC071EA2263A9F07C30651F4DCD    00:37:21
81     Info Hash: B071CD0DD8D8C3104E124CAD387BECC6BB3E273F                   09-05-   Blacked   09-02-2019   09-13-2019   PA0002200702
       File Hash:                                                              2019
       AA0BC4C6FE7CD9AC6903EFE7DB520E0D4365147E432EF97207A53D67375A920A    00:32:06
